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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

NATIONAL VETERANS LEGAL
SERVICES PROGRAM, NATIONAL
CONSUMER LAW CENTER, and
ALLIANCE FOR JUSTICE, for themselves
and all others similarly situated,	  
                        Plaintiffs,                                  Case No. 16-745 (ESH)
                 v.
UNITED STATES OF AMERICA,
               Defendant.


       PLAINTIFFS’ REPLY TO DEFENDANT’S NEW SUPPLEMENTAL AUTHORITY

          At oral argument, the government referred to a case not cited in its briefs. Its latest filing

reveals that the case is in fact Rural Cellular Association v. FCC, 685 F.3d 1083 (D.C. Cir. 2012),

which rejected a constitutional challenge to an FCC requirement that certain carriers pay for a

broadband-access program. The carriers argued that Congress hadn’t clearly given the FCC

authority to recover costs that did not “inur[e] directly to [their] benefit.” But the court found

“no failure of inurement” because “the carriers’ contributions … support[ed] a program to

subsidize broadband Internet access from which those carriers will particularly benefit.” Id. at 1091.

          Here, by contrast, the question is whether one group of people—those who wish to obtain

records via PACER—must pay fees to fund other services for other people, services from which they

will not “particularly benefit.” And here, by contrast, the question is whether to enforce a statute

that Congress enacted precisely to stop the Judiciary from charging fees that are more than

necessary to fund the particular service to the user. Once again, the AO ignores the key statutory

language: that “[a]ll fees ... collected” for services listed in the prescribed “schedule of fees” shall

be collected “as a charge for services rendered” to the user, “to reimburse expenses incurred in providing these

services,” and then “only to the extent necessary” to do so. 28 U.S.C. § 1913 note.

	  
	  
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                                              Respectfully submitted,
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March 29, 2018                                Counsel for Plaintiffs National Veterans Legal Services
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2018, I electronically filed this document through this

Court’s CM/ECF system. I understand that notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system.

                                              /s/ Deepak Gupta
                                              Deepak Gupta




	  
	  
